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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )      VIOLATION NO. W0979222
                            Plaintiff,     )
                                           )
              v.                           )
                                           )
RICHARD GRIGER, JR.,                       )      MOTION AND ORDER TO
                                           )      DISMISS
                            Defendant.     )

       COMES NOW the United States, by and through the undersigned Assistant United

States Attorney, and moves the Court to dismiss this matter at the request of the case agent.

                                                           Respectfully Submitted,

                                                           UNITED STATES OF AMERICA

                                                  By:      DEBORAH R. GILG
                                                           United States Attorney
                                                           District of Nebraska


                                                  And:     ~~
                                                           STEVEN A. RUSSELL # 16925
                                                           Assistant U. S. Attorney
                                                           487 Federal Building
                                                           100 Centennial Mall North
                                                           Lincoln, Nebraska 68508
                                                           Telephone: (402) 437-5241
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                               ORDER
                         tJ%
  IT IS SO ORDERED this ~day of March, 2010.

                                       BY THE COURT:
